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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                    Greenbelt Division


 DAWUD J. BEST,                                        )
                                                       )
         Plaintiff,                                    )
                                                       )
 v.                                                    )        Case No. 8:17cv314-GJH
                                                       )
 FEDERAL NATIONAL MORTGAGE                             )
 ASSOCIATION, et al.,                                  )
                                                       )
         Defendants.                                   )


                      STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiff, Dawud J. Best, by counsel, and Defendants, Federal National Mortgage

Association, Capital One, N.A., and Brock & Scott, PLLC, by counsel, and pursuant to Fed. R.

Civ. P. 41(a)(1)(A)(ii), hereby stipulate to the dismissal with prejudice of this action and all claims

against Defendants in this action, with each party to bear its own fees and costs.

                                      Respectfully submitted,


 /s/ Jeffery W. Styles                             /s/ S. Mohsin Reza
 Jeffery W. Styles, Esq.                           S. Mohsin Reza (D. Md. # 19015)
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 Counsel for Plaintiff
                                                   Counsel for Defendants
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 22nd day of March, 2021, a copy of the foregoing was filed with

the Clerk of the Court using CM/ECF, which will send a notice of electronic filing to all registered

counsel listed below:


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                                              /s/ Jeffery W. Styles
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